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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                        )    Chapter 11
                                                              )
ENERGY FUTURE HOLDINGS CORP., et al.,1                        )    Case No. 14-10979 (CSS)
                                                              )
                                            Debtors.          )    (Jointly Administered)
                                                              )
                                                              )    RE D.I. 3037, 3128, and 3200

      NOTICE OF FILING OF PROPOSED FORM OF “ORDER AUTHORIZING THE
    RETENTION AND EMPLOYMENT OF PROSKAUER ROSE LLP AS COUNSEL FOR
     DEBTOR AND DEBTOR IN POSSESSION ENERGY FUTURE HOLDINGS CORP.
              EFFECTIVE NUNC PRO TUNC TO NOVEMBER 19, 2014”

         PLEASE TAKE NOTICE that on December 16, 2014, debtor Energy Future Holdings

Corp. (“EFH Corp.”) filed the Debtor Energy Future Holding Corp.’s Application for Entry of

an Order Authorizing the Retention and Employment of Proskauer Rose LLP as Co-Counsel for

Debtor and Debtor in Possession Energy Future Holdings Corp. Effective Nunc Pro Tunc to

November 19, 2014 [D.I. 3037] (the “Application”) with the United States Bankruptcy Court for

the District of Delaware (the “Bankruptcy Court”).                  Pursuant to the Application, EFH Corp.,

under the supervision of its disinterested directors, Donald L. Evans and Billie I. Williamson, is

seeking entry of an order to retain and employ Proskauer Rose LLP (“Proskauer”) as its

attorneys effective nunc pro tunc to Novermber 19, 2014, to render professional services to EFH

Corp.’s disinterested directors, in connection with Conflict Matters as defined in and pursuant to

the authority delegated to the disinterested directors pursuant to respective resolutions of the

EFH Corp. Board of Directors dated November 7, 2014 and December 9, 2014, attached to the



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   The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
digits of their federal tax identification numbers is not provided herein. A complete list of such information may be
obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.
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Application as Exhibit B, including the determination by EFH Corp.’s disinterested directors

regarding whether any matter constitutes a Conflict Matter.

       PLEASE TAKE FURTHER NOTICE that, in support of the Application, EFH Corp.

filed the Declaration of Jeff J. Marwil in Support of Debtor Energy Future Holdings Corp.’s

Application for Entry of an Order Authorizing the Retention and Employment of Proskauer Rose

LLP as Counsel for Debtor and Debtor in Possession Energy Future Holdings Corp. Effective

Nunc Pro Tunc to November 19, 2014, which was filed as Exhibit C to the Application.

       PLEASE TAKE FURTHER NOTICE that, on December 22, 2014, EFH Corp. filed the

Supplemental Declaration of Jeff J. Marwil in Support of Debtor Energy Future Holdings

Corp.’s Application for Entry of an Order Authorizing the Retention and Employment of

Proskauer Rose LLP as Counsel for Debtor and Debtor in Possession Energy Future Holdings

Corp. Effective Nunc Pro Tunc to November 19, 2014 [D.I. 3128], in further connection with,

and in support of, the Application.

       PLEASE TAKE FURTHER NOTICE that, today, EFH Corp. filed the Second

Supplemental Declaration of Jeff J. Marwil in Support of Debtor Energy Future Holdings

Corp.’s Application for Entry of an Order Authorizing the Retention and Employment of

Proskauer Rose LLP as Counsel for Debtor and Debtor in Possession Energy Future Holdings

Corp. Effective Nunc Pro Tunc to November 19, 2014 [D.I. 3200], in further connection with,

and in support of, the Application.

       PLEASE TAKE FURTHER NOTICE that, a hearing with respect to the Application (and

any objections thereto), will be held before The Honorable Christopher S. Sontchi at the

Bankruptcy Court, 824 North Market Street, 5th Floor, Courtroom 6, Wilmington, Delaware

19801 on January 13, 2015, at 9:30 a.m. (Eastern Daylight Time).



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       PLEASE TAKE FURTHER NOTICE that EFH Corp. is hereby filing a revised form of

order in connection with the Application (the “Revised Order”). A copy of the Revised Order is

attached hereto as Exhibit A. For the convenience of the Bankruptcy Court and other parties in

interest, a blackline of the Revised Order compared with the proposed form of order attached to

the Application is attached hereto as Exhibit B.

       PLEASE TAKE FURTHER NOTICE that EFH Corp. intends to present the Revised

Order to the Bankruptcy Court at the Hearing. To the extent that EFH Corp. makes any further

revisions to the Revised Order prior to the Hearing, EFH Corp. intends to present a blacklined

copy of such revised documents to the Bankruptcy Court at the Hearing.

                                             O’KELLY ERNST & BIELLI, LLC

Date: January 8, 2015                        /s/ David M. Klauder
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                                             Shannon J. Dougherty (No. 5740)
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                                             and

                                             PROSKAUER ROSE LLP
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                                             Mark K. Thomas (admitted pro hac vice)
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                                             Proposed Co-Counsel to the Debtor
                                             Energy Future Holdings Corp.

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